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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   MICHAEL GONIDAKIS, et al.,                      :
                                                   :
           Plaintiffs,                             :   Case No. 2:22-cv-0773
                                                   :
                v.                                 :   Chief Judge Algenon L. Marbley
                                                   :   Judge Amul R. Thapar
   OHIO REDISTRICTING                              :   Judge Benjamin J. Beaton
   COMMISSION, et al.,                             :
                                                   :   Magistrate Judge Elizabeth P.
          Defendants.                              :   Deavers


         SECRETARY LAROSE, AUDITOR FABER AND GOVERNOR DEWINE’S
            RESPONSE IN OPPOSITION TO SIMON PARTIES’ MOTION TO
           ALTER OR AMEND JUDGMENT UNDER RULE 59(e) (ECF No. 202)



  I.     INTRODUCTION

         The Simon Parties fail to show that the Court should alter or amend its judgment issued on

  May 12, 2022. Distilled to its essence, the Simon Parties’ motion amounts to nothing more than a

  disagreement with the Court’s decision and represents one last attempt to relitigate the issue of

  which General Assembly-district map to use for the upcoming election. The Simon Parties’

  motion asks for the same relief that they requested in their April 25, 2022 motion to alter or amend,

  and it is based entirely on arguments that could have been presented to the Court prior to the entry

  of the May 12, 2022 Order. This latest challenge is not sufficient for the Court to grant the

  extraordinary remedy of amending its judgment. As explained in this response, the Court did not

  commit any clear errors of fact or law in issuing its May 12, 2022 Order. Nor will the parties

  suffer manifest injustice if the motion is not granted. Thus, the Simon Parties have not established

  any basis for the Court to alter or amend the judgment, and the Court should deny the Simon

  Parties’ motion.
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  II.    LEGAL STANDARD

         Motions to alter or amend a judgment pursuant to Rule 59(e) “are extraordinary and

  sparingly granted.” Conway v. Portfolio Recovery Assocs., LLC, No. 13-07-GFVT, 2015 U.S.

  Dist. LEXIS 192330, at *3 (E.D. Ky. July 23, 2015). A Rule 59(e) motion may be well-taken if

  there is (1) a clear error of law; (2) newly discovered evidence; (3) an intervening change in

  controlling law; or (4) to prevent manifest injustice. Lonardo v. Travelers Indem. Co., 706 F.

  Supp. 2d 766, 808-09 (N.D. Ohio 2010) (citing Intera Corp. v. Henderson, 428 F.3d 605, 620 (6th

  Cir. 2005)). Here, the Simon Parties assert that manifest injustice will occur if their motion is not

  granted. See Motion to Alter, ECF No. 202 at PageID 6330.

         While “the ‘manifest injustice’ ground for a Rule 59(e) motion appears to be a catch-all

  provision, it is not meant to allow a disappointed litigant to attempt to persuade the Court to change

  its mind.” Lonardo, 706 F. Supp. 2d at 809 (citing Gencorp, Inc. v. Am. Int’l Underwriters, 178

  F.3d 804, 834 (6th Cir. 1999)). A Rule 59(e) motion “may not be used to relitigate old matters, or

  to raise arguments or present evidence that could have been raised prior to the entry of judgment.”

  See Exxon Shipping Co. v. Baker, 554 U.S. 471, 485, n.5 (2008) (quoting 11 C. Wright & A. Miller,

  Federal Practice and Procedure § 2810.1, p. 127-28 (2d ed. 1995)). Raising a claim for the first

  time on a Rule 59(e) motion is “simply too little, too late.” 389 Orange St. Partners v. Arnold,

  179 F.3d 656, 665 (9th Cir. 1999).

         “The grant or denial of a Rule 59(e) motion is within the informed discretion of the district

  court, reversible only for abuse.” Betts v. Costco Wholesale Corp., 558 F.3d 461, 467 (6th Cir.

  2009) (citing Scotts Co. v. Central Garden & Pet Co., 403 F.3d 781, 788 (6th Cir. 2005)). “Abuse

  of discretion is defined as a definite and firm conviction that the trial court committed a clear error

  of judgment. A district court abuses its discretion when it relies on clearly erroneous findings of




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  fact, or when it improperly applies the law or uses an erroneous legal standard.” Betts, 558 F.3d at

  467 (quoting Tompkin v. Philip Morris USA, Inc., 362 F.3d 882, 891 (6th Cir. 2004)).

  III.      THE SIMON PARTIES COULD AND SHOULD HAVE MADE THEIR
            ARGUMENTS BEFORE THE COURT’S ORDER WAS ISSUED.

            The Simon Parties are improperly using Rule 59(e) motions as vehicles for re-argument or

  asserting arguments that could and should have been made before judgment issued—this is their

  second Rule 59(e) motion in 30 days.1 In this motion they contend that “[m]anifest injustice will

  occur unless the [May 12, 2022] Order is altered or amended in advance of its implementation of

  Map 3 of the current proposed redistricting of the Ohio General Assembly.” See Motion, ECF No.

  202 at PageID 6330. That is, they are asking for the same relief that they requested in their April

  25, 2022 Rule 59(e) motion, which this Court denied. See generally Motion to Alter, ECF No.

  197. Additionally, the Simon Parties make new arguments for claims they raised in their

  Complaint—when they could have and should have made these arguments prior to this Court’s

  Order.2




  1
   The Simon Parties erroneously assert that “this Court’s May 12, 2022 Order [denied] the Simon
  Parties’ Second Motion for Preliminary Injunction and Declaratory Relief, ECF No. 147.” Mot. to
  Alter or Amend May 12, 2022 Order, ECF No. 202, PageID 6330. The May 12, 2022 Order
  actually denied the Simon Parties’ first Motion for Temporary Restraining Order, Preliminary
  Injunction, Partial Summary Judgment, and Immediate Appointment of a Special Master (ECF
  No. 141). See May 12. 2022 Order ECF No. 201, PageID 6321.

  2
    On June 6, 2022, thirteen days after filing this Fed.R.Civ.P. 59(e) motion, the Simon Parties also
  filed a Notice of Appeal of this Court’s May 12, 2022 Order. See Notice of Appeal, ECF No. 206,
  PageID 6380. Thus, the Simon Parties’ attempt to appeal this Court’s May 12, 2022 Order to the
  U.S. Supreme Court and, at the same time, ask this Court to amend or alter it. This Court retains
  jurisdiction over this Rule 59(e) motion pursuant to FRAP 4(B)(i), which states, “If a party files a
  notice of appeal after the court announces or enters a judgment-but before it disposes of any motion
  listed in Rule 4(a)(4)(A)-the notice becomes effective to appeal a judgment or order, in whole or
  in part, when the order disposing of the last such remaining motion is entered.” A Rule 59(e)
  motion is a motion listed in Rule 4(a)(4)(A)(iv).

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          In determining whether a Rule 59(e) motion simply asserts arguments that could and should

  have been made before a judgment issued, the appropriate question is when the Simon Parties were

  on notice that such an issue existed. In this case, the Simon Parties have been aware at least since

  the time of their intervention that the Gonidakis Parties’ proposed relief contemplated the use of

  Map 3. See Intervenor Complaint, ECF No. 92 at PageID 1526-28. In fact, the Simon Parties

  assert in their First Claim for Relief of their Intervenor Complaint that “[i]n direct violation of

  Section 2 of the Voting Rights Act: (a) [Map 3] will split the district encompassing Youngstown,

  Ohio in Mahoning County from Warren, Ohio in Trumbull County, which is adjacent to

  Youngstown, causing the Black community in Warren and Youngstown to be placed into separate

  Senate districts; and (b) Submerge Youngstown and Warren Black voters into a Congressional

  District with extreme racially polarized voting.” Id. at PageID 1527, ¶ 54.

          Moreover, it is absolutely clear that the Simon Parties were made aware of the precise issue

  raised by their motion when they filed their motion in opposition to the Gonidakis Parties’ Second

  Motion for Preliminary Injunction and Declaratory Relief on March 24, 2022—almost two months

  before this Court’s Order. Thus, there can be no dispute that the Simon Parties were on notice.

  Yet, the Simon Parties still never moved for injunctive relief to enjoin the use of Map 3 as violative

  of the Voting Rights Act. Instead, the Simon Parties simply opposed the Gonidakis Plaintiffs’

  request to use Map 3 for the 2022 election. See, Opp. to TRO, ECF No. 93, PageID 1548. Now,

  in two Rule 59(e) motions, the Simon Parties seek affirmative relief from Map 3 for the first time

  in this litigation.

          When this Court addressed the Simon Parties’ arguments regarding Map 3 anyway, and

  found that they did not meet their burden to establish a violation of the Voting Rights Act, see May

  12 Order, ECF No. 201 at Page ID 6316, the Simon Parties now make new arguments. They claim




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  for the first time in their Rule 59(e) motion that they can avoid this Court’s Gingles analysis

  because their claim is a “nomination claim” rather than an “election claim.” See Motion to Alter,

  ECF No. 202 at PageID 6331 (“The May 12 Order completely misses the point that the Simon claim,

  like the claim in Armour. is a claim that the 33rd Ohio Senate District as proposed in Map 3 will result

  in the process leading to nomination of a candidate of choice not being equally open to the Simon

  parties.”). This is a pivot from their Intervenor Complaint, wherein the Simon Parties allege harm

  from the inability to elect representatives of their choice. See generally Intervenor Complaint,

  ECF No. 92. However, the idea that a “nomination claim” is not required to meet the same

  preconditions as an “election claim” to establish a violation of Section 2 of the Voting Rights

  Act—or that there is even such a distinction between claims—is wholly unfounded.

         In Thornburg v. Gingles, 478 U.S. 30, 50, 106 S.Ct. 2752 (1986), the first time the Supreme

  Court construed Section 2 of the Voting Rights Act of 1965, as amended, the Court established the

  three “necessary preconditions” for proving that an electoral structure “operate[s] to impair

  minority voters’ ability to elect representatives of their choice.” Nowhere in the Court’s analysis

  is there a distinction made between the ability to nominate a representative and the ability to elect

  a representative. Rather, Gingles and every case since Gingles that has analyzed a Section 2 Voting

  Rights Act claim—including Armour v. Ohio, 775 F.Supp. 1044 (N.D. Ohio 1991), looked at the

  challenged legislative redistricting plan and whether a discriminatory effect resulted from the

  enactment of such a plan. Since the overarching concern of Section 2 of the Voting Rights Act is

  to avoid a discriminatory effect, see, e.g., Gingles at 35, it would not make sense to apply different

  frameworks for a “nomination claim” and an “election claim.” Thus, only one framework is

  applied and it is the framework devised in Gingles.           The Simon Parties cannot avoid the

  requirements established by the Supreme Court by labeling their claims something else in a Rule

  59(e) motion.


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         Courts routinely deny Rule 59(e) motions made under circumstances similar to this case.

  See, e.g., Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146 F.3d 367, 374 (6th Cir. 1998);

  F.D.I.C. v. World University Inc., 978 F.2d 10, 16 (1st Cir. 1992). The Simon Parties’ motion

  should be denied.

  IV.    CONCLUSION

         For the reasons discussed above, the Defendants respectfully request the Court to deny the

  Simon Parties’ Motion under Rule 59(e).


                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 14, 2022, the foregoing was filed with the Court. Notice of

  this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

  counsel has entered an appearance. Parties may access this filing through the Court’s system.


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